                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

Alanna Dunn, et al.                                  Case No. 1:23-cv-00364

                       Plaintiffs                    Judge Bridget Meehan Brennan

       v.

Cuyahoga County, et al.

                       Defendants


 PLAINTIFFS’ MOTION TO EXCLUDE EXPERT REPORTS OF DR. SEAN MALONE

       Plaintiffs, by their undersigned counsel, hereby move to exclude the expert reports of Dr.

Sean Malone on behalf of Defendant Cuyahoga County, dated March 3, 2025 (ECF 50-3) and

March 19, 2025 (ECF 50-4). Dr. Malone’s expert reports are material to Plaintiffs’ class

certification motion because they purport to rebut the Time to Release analysis and conclusions

proffered by Plaintiff’s expert, Lacey Keller, in support of class certification and because

Defendant relies on Dr. Malone’s reports to support its argument that individual issues preclude

class certification. Accordingly, Defendant must be able to demonstrate that Dr. Malone and his

testimony are sufficiently credible and reliable to satisfy a Daubert analysis. In re Nissan N. Am.,

Inc. Litig., 122 F.4th 239, 253 (6th Cir. 2024) As further detailed in Plaintiffs’ accompanying

memorandum, Defendant cannot satisfy its burden because most of Dr. Malone’s testimony

constitutes legal arguments and conclusions that he is not qualified to provide and that will not

help the Court assess class certification. Further, none of Dr. Malone’s testimony is reliable

because he did not utilize any principles or methods to conclude that Keller’s analysis is flawed.




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       WHEREFORE, because they fail to satisfy the first, third and fourth requirements of

Federal Rule of Evidence 702 and are accordingly inadmissible, Plaintiffs respectfully request that

the Court exclude the expert reports of Dr. Sean Malone.

Dated: May 15, 2025                          Respectfully submitted,

                                             /s/ Kate Schwartz

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